         Case 1:21-cv-07863-VEC Document 57-1 Filed 10/11/21 Page 1 of 1

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                                           October 11, 2021

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VIA ECF
Hon. Valerie E. Caproni
United States District Court
Southern District of New York
Thurgood Marshall Courthouse
40 Foley Square, New York, NY 10007

        Re:     Kane, et al v. de Blasio, et al
                Docket 21 civ 7863


Dear Judge Caproni,

In light of the Court’s communication regarding witnesses, I respectfully propose the Court
accept the attached declaration from Amanda Ruiz in lieu of testimony. Ms. Ruiz will be at Court
as well if live testimony is preferred and the Court deems it relevant.

As to the other plaintiffs, the purpose for calling them is to put on the record any updates about
their status – for example, after our hearing last week, several more plaintiffs were denied and
placed on leave without pay. We intended to put that information in the record through
testimony, but I can submit additional declarations if the court would prefer.

                                                  Respectfully Submitted,

                                                  /s/ Sujata S. Gibson
                                                  Counsel for the Plaintiffs
Cc:     All counsel via ECF




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